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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA
____________________________________
GREGG ROMAN,                           :
                                       :
Counterclaim and Third-Party Plaintiff :
                                       :
      v.                               :
                                       :  NO. 2:19-cv-06078
MARNIE O’BRIEN,                        :  NO. 2:20-cv-00457
                                       :
      Counterclaim Defendant           :
                                       :
      And                              :
                                       :
MATTHEW EBERT                          :
                                       :
      Third-Party Defendant            :
                                       :

       COUNTER CLAIM PLAINTIFF MARNIE O’BRIEN’S ANSWER WITH
   AFFIRMATIVE DEFENSES TO THIRD-PARTY PLAINTIFF GREGG ROMAN’S
                          COUNTERCLAIM

       Counterclaim Defendant, Marnie O’Brien (hereinafter, “O’Brien”), by and through her

attorneys, Pond Lehocky LLC hereby submits the within Answer to Third-Party Plaintiff’s

Counterclaim in accordance with the Federal Rules of Civil Procedure, as follows:

       1.       Admitted.

       2.      Admitted in part, denied in part. It is admitted that O’Brien and Ebert have been

in a romantic relationship and reside at the stated address. It is denied that O’Brien and Ebert are

“domestic partners” as the term is vague and undefined to the extent that O’Brien cannot confirm

or deny the averment. As such, the averment is denied.

       3.      Admitted in part; denied in part. It is admitted that Ebert used to work as a police

officer. As to the rest of the averments in this paragraph, after reasonable investigation O’Brien

is without sufficient knowledge to form a belief as to the truth or accuracy of such averments.



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Therefore, they are denied and strict proof is demanded.

       4.      Denied. After reasonable investigation O’Brien is without sufficient knowledge to

form a belief as to the truth or accuracy of such averments. Therefore, they are denied and strict

proof is demanded.

       5.      Denied as stated. It is admitted that O’Brien and Ebert attempted to start a

business together. It is denied that the business was fictitious.

       6.      Admitted.

       7.      Admitted.

       8.      Denied.

       9.      Admitted.

       10.     Denied. After reasonable investigation, O’Brien lacks sufficient information or

knowledge to form a belief as to the truth or accuracy of the averments contained in this

paragraph. Therefore, they are denied and strict proof is demanded.

       11.     Admitted.

       12.     Admitted in part, denied in part. It is admitted that Bennett met with O’Brien and

Barbounis. All other averments contained within this paragraph are denied.

       13.     Denied.

       14.     Admitted.

       15.     Admitted in part, denied in part. It is admitted a staff meeting was held on

November 5, 2018. It is admitted Roman was not in attendance. O’Brien is without sufficient

information or knowledge to form a belief as to the truth or accuracy of whether Roman was

originally invited to attend the meeting or any instructions he received about his attendance.

Therefore, such averments are denied and strict proof is demanded.



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       16.     Admitted in part. It is true that these actions were undertaken by MEF, however

they were not permanent.

       17.     Admitted in part. It is true that this action was undertaken by MEF, however they

were not permanent.

       18.     Denied as stated. It is admitted Roman’s compensation was reduced, as was

O’Brien’s. Upon information and belief, compensation of other employees was reduced as well.

       19.     Denied. After reasonable investigation, O’Brien lacks sufficient information or

knowledge to form a belief as to the truth or accuracy of the date of Bennett’s separation from

MEF. Therefore, such averments are denied and strict proof is demanded.

       20.     Denied as stated. It is admitted Pipes attempted to reassign Bennett’s duties.

Initially he attempted to reassign them to O’Brien without any increase in compensation. When

O’Brien protested, Pipes asked the employees to vote on would absorb the responsibilities.

       21.     Denied as stated. Pipes attempted to assign Bennett’s duties to O’Brien without an

increase in compensation.

       22.     Denied as stated. Pipes attempted to assign Bennett’s duties to O’Brien without

any increase in compensation. When O’Brien protested, Pipes asked the employees to vote on

would absorb the responsibilities.

       23.     Denied as stated. It is admitted that it was voted that Barbounis should take over

the responsibilities. All other averments in this paragraph are denied.

       24.     Denied. After reasonable investigation, O’Brien lacks sufficient information or

knowledge to form a belief as to the truth or accuracy of the date of Bennett’s departure from

MEF. Therefore, such averments are denied and strict proof is demanded.



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          25.   Denied. After reasonable investigation, O’Brien lacks sufficient information or

knowledge to form a belief as to the truth or accuracy of any conversations between Barbounis

and Pipes. Therefore, such averments are denied and strict proof is demanded.

          26.   Denied as stated. It is denied that all other employees agreed Roman should

return.

          27.   Denied as stated. It is admitted Roman returned to MEF in 2019. It is denied that

all employees encouraged Roman to return. With regard to the specific date of the return,

O’Brien lacks sufficient information or knowledge to form a belief as to the truth or accuracy of

the date alleged. Therefore, such averments are denied and strict proof is demanded.

          28.   Denied as stated. It is admitted O’Brien reported that Roman continued to spread

rumors about her and otherwise harass her. It is denied that O’Brien had relations with Kevin

Brady. It is further denied O’Brien’s report of Roman’s continued bad conduct was false. Such

averments are raised in this counterclaim with the sole intent of continuing to harass O’Brien.

          29.   Admitted.

          30.   Denied as stated. Shortly after the November 5, 2018 meeting Pipes reassigned

several reporting assignments. When O’Brien inquired about her reports, Pipes indicated her

reports were not necessary. The matter was not discussed for over six months. When Pipes asked

for the monthly reports, plaintiff prepared them and continued to do so until her separation from

MEF.

          31.   Denied.

          32.   Denied.

          33.   Denied as stated. It is admitted charges of discrimination were filed regarding

Roman’s sexual harassment of MEF’s female employees. All other averments are denied.



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       34.     Admitted in part, denied in part. It is admitted Barbounis resigned. With regard to

the specific date of the resignation, O’Brien lacks sufficient information or knowledge to form a

belief as to the truth or accuracy of the date alleged. Therefore, such averments are denied and

strict proof is demanded.

       35.     Admitted in part, denied in part. It is admitted O’Brien suggested Barbounis wipe

her personal information from her laptop before returning it. All other averments are denied.

       36.     Denied. After reasonable investigation O’Brien lacks sufficient information or

knowledge to form a belief as to the truth or accuracy of the averments of this paragraph.

Therefore, such averments are denied and strict proof is demanded.

       37.     Denied. After reasonable investigation O’Brien lacks sufficient information or

knowledge to form a belief as to the truth or accuracy of the averments of this paragraph.

Therefore, such averments are denied and strict proof is demanded.

       38.     Admitted in part, denied in part. It is admitted that O’Brien and Ebert have been

in a romantic relationship. It is denied that O’Brien and Ebert are “domestic partners” as the term

is vague and undefined to the extent that O’Brien cannot confirm or deny the averment. As such,

the averment is denied.

       39-42. Denied. After reasonable investigation O’Brien lacks sufficient information or

knowledge to form a belief as to the truth or accuracy of the averments of this paragraph.

Therefore, such averments are denied and strict proof is demanded.

       43-48. Admitted.

       49.     Denied. It is denied that Roman had no knowledge of or nothing to do with the

call. With regard to Ebert’s involvement, after reasonable investigation O’Brien lacks sufficient

information or knowledge to form a belief as to the truth or accuracy of such averments.



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Therefore, such averments are denied and strict proof is demanded.

       50.     Denied. Such averments are completely fabricated by Roman with the sole intent

of continuing to harass O’Brien.

       51.     Denied. Such averments are completely fabricated by Roman with the sole intent

of continuing to harass O’Brien.

       52.     Denied.

             COUNT I- TORTIOUS INTERFERENCE WITH BUSINESS RELATIONS

       53.     This paragraph contains no averments which require a responsive pleading.

       54.     Denied. The averments contained in this paragraph constitute conclusions of law

to which no response is required. Accordingly, they are deemed denied.

       55-56. Denied. The averments contained in this paragraph constitute conclusions of law

to which no response is required. Accordingly, they are deemed denied. If this paragraph is

deemed to require averments which require a response, the same are denied.

       57.     Denied.

       58.     Denied. The averments contained in this paragraph constitute conclusions of law

to which no response is required. Accordingly, they are deemed denied. If this paragraph is

deemed to require averments which require a response, the same are denied.

                                   COUNT II- ABUSE OF PROCESS

       59.     This paragraph contains no averments which require a responsive pleading.

       60-61. Denied. Such averments are self-serving and alleged with the sole intent of

continuing to harass O’Brien.

       62.     Denied. The averments contained in this paragraph constitute conclusions of law

to which no response is required. Accordingly, they are deemed denied. If this paragraph is



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deemed to require averments which require a response, the same are denied.

                                  COUNT II- CIVIL CONSPIRACY

       63.     This paragraph contains no averments which require a responsive pleading.

       64-66. Denied. The allegations contained within these paragraphs are directed to parties

other than O’Brien, thus no response is required.

                                 COUNT III- CIVIL CONSPIRACY

       67.     This paragraph contains no averments which require a responsive pleading.

       68.     Denied.

       69.     Denied. Such averments are self-serving and alleged with the sole intent of

continuing to harass O’Brien.

       70.     Denied. The averments contained in this paragraph constitute conclusions of law

to which no response is required. Accordingly, they are deemed denied. If this paragraph is

deemed to require averments which require a response, the same are denied.

                                     AFFIRMATIVE DEFENSES

       1. Roman’s counterclaim fails due to it being filed with the sole intent of continuing to

harass O’Brien even beyond her separation from MEF.

       2. Roman’s counterclaim fails to state a claim upon which relief can be granted.

       3. Roman’s counterclaim fails due to him failing to mitigate his damages.

       4. Roman’s counterclaim fails due to his unreasonable failure to take advantage of

preventative and corrective opportunities such as refraining from sexually harassing behaviors,

refraining from contributing to a hostile work environment and failing to adhere to the alleged

anti-discrimination policies MEF supposedly maintains.

       5. Roman’s counterclaim fails due to the doctrines of laches, fraud, waiver, estoppel



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and/or unclean hands.

       6. At all relevant times herein O’Brien acted in good faith with the intent of stopping

Roman’s harassment and predatory behaviors and ending a culture of gender-based

discrimination at MEF.

       7. Roman’s counterclaim is barred by the doctrine of unclean hands and was filed with

the sole intent of continuing to harass O’Brien beyond her separation from MEF.




                                                                         Respectfully submitted,

                                                                       POND LEHOCKY, LLP



                                                                        By: /s/ Erica A. Shikunov

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                                         Certificate of Service

              I, Erica Shikunov, Esquire, hereby certify that on April 24, 2020 I filed this

document on the ECF system, which electronically delivers a copy to the following counsel:

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